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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

JACK D. DENTON,

             Plaintiff,
                                         Civil Case No. 4:20-cv-00425-
v.
                                                   AW-MAF
JOHN E. THRASHER, et al.,

            Defendants.



     PLAINTIFF’S NOTICE OF RULING BY FLORIDA STATE
          UNIVERSITY STUDENT SUPREME COURT

     Plaintiff Jack D. Denton gives notice to the court of a ruling by the
Florida State University Student Supreme Court and states as follows:
     1.    Before filing this action, Mr. Denton filed a complaint with the
Florida State University Student Supreme Court. See Doc. 1, Complaint
¶ 148.

     2.    On October 22, 2020, this Court held a telephonic scheduling
hearing during which all parties agreed, with this Court’s approval, to
stay discovery until the resolution of Defendants’ pending motions to

dismiss.
     3.    On October 26, 2020, the Student Supreme Court ruled on the
complaint and ordered Mr. Denton’s reinstatement as president of the
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Student Senate. The Student Supreme Court’s opinion is attached as
Exhibit A.

     4.      On information and belief, Defendant Daraldik has appealed
the Student Supreme Court’s decision to Defendant Hecht.
     5.      Pursuant to Student Body Statute § 205.7, Defendant Hecht

must either affirm or reverse the Student Supreme Court’s decision to
reinstate Mr. Denton as Student Senate President.
     6.      Defendant Daraldik’s appeal of the decision and the decision

that is yet to be made by Defendant Hecht on the appeal will likely affect
Mr. Denton’s rights, the relationship between the parties, Mr. Denton’s
pending claims, and would bear on Defendants’ pending motions to

dismiss.
     7.      On information and belief, Defendant Daraldik or other
student government officials may take action to prevent Mr. Denton’s
reinstatement or to approve a second motion of no-confidence against Mr.
Denton even if Defendant Hecht affirms the decision to reinstate Mr.
Denton.
     8.      A subsequent removal would affect Mr. Denton’s rights, the
relationship between the parties, Mr. Denton’s pending claims, and
would bear on Defendants’ pending motions to dismiss.
     9.      Given the developing nature of the situation, Plaintiff will
notify the Court of any relevant factual developments related to the



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appeal of the Student Supreme Court’s decision or Mr. Denton’s
reinstated status as Student Senate President.


     Respectfully submitted on the 27th day of October, 2020.
                                    s/ Tyson Langhofer
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